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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

  IN RE: JOHNSON & JOHNSON
  TALCUM POWDER PRODUCTS                                            MDL No. 2738
  MARKETING, SALES PRACTICES,
  AND PRODUCTS LIABILITY LITIGATION                                 Hearing Date:
                                                                    Courtroom: 5E
  This document relates to: AUSTIN, ET AL. v. JOHNSON
  & JOHNSON, ET AL., C.A. No. 3:23-cv-22364 (E.D.
  Pennsylvania)


                 MEMORANDUM IN SUPPORT OF MOTION TO REMAND

          Pursuant to 28 U.S.C. §1447(c) and for the reasons that follow, this action should be

 remanded to the Philadelphia Court of Common Pleas, Pennsylvania, for lack of subject matter

 jurisdiction.

     I.      FACTUAL BACKGROUND

          On September 6, 2023, Plaintiffs filed their Complaint against the Johnson & Johnson,

 Johnson & Johnson Consumer Inc., Johnson & Johnson Holdco Inc., Janssen Pharmaceuticals,

 Inc., Kenvue Inc., and LTL Management, LLC (defendants are collectively referred to as

 “Defendants”) in the Philadelphia Court of Common Pleas. See, generally, Complaint, Exhibit

 A. Plaintiffs’ Complaint alleges that the Plaintiffs regularly applied the PRODUCTS to their

 perineal region, causing them to be diagnosed with Ovarian Cancer. See, Complaint at ¶ 5 - 111.

 It is undisputed that both Janssen and J&J are not diverse from the properly joined Plaintiffs.

 See, Complaint at ¶ 5 and 32. Nor can it be disputed at this stage that Defendants’ wrongful and

 fraudulent conduct, caused Plaintiffs Ovarian Cancer. See, Complaint at ¶¶ 5 - 111. Nor is it

 disputed that a Superior Court Judge of New Jersey has already denied a motion by J&J to

 dismiss Janssen, Holdco, and Kenvue on the very grounds that J&J removed this case to the

 MDL. See Order, Exhibit B.
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        For decades, the defendants have either known or should have known that regular use of

 talc powder in a woman’s perineal region causes Ovarian Cancer. In 1971, the first study was

 conducted that suggested an association between talc use and Ovarian Cancer. See, Complaint at

 ¶ 137. In 1982, the first epidemiological study was performed on talc powder use in the female

 genital (perineal) region. See, Complaint at ¶ 138. Since 1982, there have been approximately

 twenty-two additional epidemiologic studies providing data regarding the association of talc and

 Ovarian Cancer. Complaint at ¶ 139. Nearly all of these studies have reported an elevated risk

 of Ovarian Cancer associated with genital talc use in women. Indeed, in or about February,

 2006, the International Agency for Research on Cancer (IARC), the specialized cancer agency of

 the World Health Organization, published a paper whereby they classified perineal use of talc-

 based body powder as a “Group 2B” human carcinogen. See, Complaint at ¶ 149; n. 8 [IARC,

 “Perineal use of talc-based body powder (Group 2B)” available at

 http://monographs.iarc.fr/ENG/Monographs/PDFs/93-talc.pdf.]

        Despite decades of studies showing a clear connection between perineal talc use and

 Ovarian Cancer, the defendants failed to adequately warn consumers, including Plaintiffs, of the

 risk of developing Ovarian Cancer after perineal use of the Products. Indeed, the defendants

 marketed, labeled, and/or sold the Products directly to consumers, such as Plaintiffs, without any

 warning of the known or knowable carcinogenic dangers posed by the Products; rather, the

 Products were marketed, labeled, and/or sold to consumers, such as Plaintiffs, as a symbol of

 “freshness” and “comfort,” absorbing “excess wetness,” and “clinically proven to be gentle and

 mild.”. See, Complaint at ¶134.

        Plaintiffs’ Complaint devotes hundreds of paragraphs to defendants’ specific conduct

 giving rise to the defendants liability and levies specific allegations against all the defendants for


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 Strict Liability Failure to Adequately Warn (see, Complaint at ¶¶ 166), Negligence (see,

 Complaint at ¶¶ 192), and Negligent Misrepresentation (see, Complaint at ¶¶ 226).Nonetheless,

 on October 26, 2023, the J&J unilaterally and improperly removed this action to this Court. In

 support of removal, the J&J simply assume, on their own, that Plaintiffs do not have “any

 chance” of recovery against J&J or Janssen on any of these claims. This argument misses the

 mark and has no basis.

 III.      ARGUMENT

           Plaintiffs’ motion to remand should be granted because (1) complete diversity of

 citizenship is lacking, as Plaintiffs and Defendants are not diverse and Plaintiffs’ claims against

 J&J and Janssen are recognized as meritorious under prevailing Pennsylvania law, and (2)

 Plaintiffs claims have been properly joined.

        A. Standard For Remand Under 28 U.S.C. § 1447(c)

           The exercise of removal jurisdiction is governed by 28 U.S.C. § 1441; cases may be

 remanded under § 1447(c) for (1) lack of district court subject matter jurisdiction or (2) a defect

 in the removal procedure. Baldy v. First Niagara Pavilion, C.C.R.L., LLC, 149 F. Supp. 3d 551,

 555–56 (W.D. Pa. 2015) [citing PAS v. Travelers Ins. Co., 7 F.3d 349, 352 (3d Cir.1993)]. The

 party seeking removal bears the burden to establish federal jurisdiction. Steel Valley Auth. v.

 Union Switch & Signal Div., 809 F.2d 1006, 1010 (3d Cir.1987); Dukes v. U.S. Healthcare, Inc.,

 57 F.3d 350, 359 (3d Cir.1995). It is well-settled that the statute is strictly construed, requiring

 remand to state court if any doubt exists over whether removal was proper. Baldy, 149 F. Supp.

 3d at 555–56; Abels v. State Farm Fire & Casualty Co., 770 F.2d 26, 29 (3d Cir.1985). Any

 doubt shall be resolved in favor of remand. Brown v. Jevic, 575 F.3d 322, 326 (3d Cir.2009).

           When a defendant attempts to argue that the forum defendant was “fraudulently joined”,


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 the defendant carries a “heavy burden” of persuasion; and removability is determined by

 reference to Plaintiffs' initial pleading in state court, with all doubts resolved in favor of remand.

 Tamera Rothschild Esq. v. Lancer Ins. Co., No. CV 15-1072, 2016 WL 1237353, at *4 (W.D.

 Pa. Mar. 30, 2016). Plaintiffs' motives are “irrelevant”; and removal will be upheld only if

 “there is no reasonable basis in fact or colorable ground supporting the claim against the joined

 defendant, or no real intention in good faith to prosecute.” Id. A defendant removing a case for

 “fraudulent joinder” must present “clear and convincing” evidence of fraudulent joinder.

 DiMichelle v. Sears & Roebuck Co., No. CIV. A. 97-6470, 1997 WL 793589, at *2 (E.D. Pa.

 Dec. 5, 1997) [citing Nobers v. Crucible, Inc. 602 F.Supp. 703, 705–06 (W.D.Pa.1985)]. In

 other words, the J&J Defendants must show, by clear and convincing evidence, that “there is no

 reasonable basis in fact or colorable ground supporting the claim against the joined defendant, or

 no real intention in good faith to prosecute the action against the defendant or seek a joint

 judgement.” Id. Indeed, this is a very low bar; if there is any possibility that a Pennsylvania

 court would find that a complaint states a cause of action against J&J or Janssen, the action must

 be remanded. On matters of substantive law, “[i]f there is even a possibility that a state court

 would find that a plaintiff's complaint states a cause of action against any one of the resident

 defendants, the federal court must find that joinder was proper and remand the case to state

 court.” In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prod. Liab. Litig., 352

 F. Supp. 2d 533, 537 (E.D. Pa. 2004) [citing Boyer v. Snap-on Tools Corp., 913 F.2d 108, 111

 (3d Cir.1990)]. Any uncertainties as to the current state of controlling substantive law should be

 held in favor of the plaintiff. In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., 624 F.

 Supp. 2d 396, 412 (E.D. Pa. 2009).

        Defendant’s procedurally misjoined arguments must also fail because the Third Circuit


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 has not adopted the rule that fraudulent misjoinder of Plaintiffs can support removal of an action

 filed in state court. Only one Circuit Court has adopted that doctrine, which has been severely

 criticized. In 1996, the Eleventh Circuit ruled in Tapscott v. MS Dealer Service Corporation that

 federal courts can consider the fraudulent or “egregious” misjoinder of a plaintiff when

 evaluating the propriety of removal. Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353, 1360

 (11th Cir. 1996), abrogated by Cohen v. Off. Depot, Inc., 204 F.3d 1069 (11th Cir. 2000). But

 the Tapscott Court held that mere misjoinder under Fed. R. Civ. P. 20 does not support removal:

 “We do not hold that mere misjoinder is fraudulent joinder, but we do agree with the district

 court that Appellants’ attempt to join these parties is so egregious as to constitute fraudulent

 joinder.” Id.

     I.      Diversity of Jurisdiction Does Not Exist From All Properly Joined Plaintiffs

          It is J&J’ duty to show, by clear and convincing evidence, that “there is no reasonable

 basis in fact or colorable ground supporting the claim against the joined defendant, or no real

 intention in good faith to prosecute the action against the defendant or seek a joint judgement.” .

 DiMichelle v. Sears & Roebuck Co., No. CIV. A. 97-6470, 1997 WL 793589, at *2 (E.D. Pa.

 Dec. 5, 1997) [citing Nobers v. Crucible, Inc. 602 F.Supp. 703, 705–06 (W.D.Pa.1985)].

          J&J has put forth no evidence of fraudulent joinder and instead erroneously claimed that

 Plaintiffs have not set forth any allegations against any defendant except for J&J. Such an

 argument is nonsense.

          Plaintiffs’ Complaint is full of over 250 paragraphs of allegations against all the listed

 defendants, including J&J and Janssen. See copy of Complaint. Indeed, the complaint alleges that

 all of the defendants’ actions caused Plaintiffs to develop ovarian cancer and that the defendants

 continue to this day to “conceal their knowledge of the PRODUCTS’ unreasonably dangerous


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 risks from consumers and the medical community.” Complaint at ¶ 4. That the defendants

 “failed to adequately inform plaintiffs, consumers, and the medical community about the known

 risks of Ovarian Cancer associated with perineal use of the PRODUCTS.” Id.

          Because the complaint is replete with allegations agaisnt all of the defendants, Plaintiffs

 have properly named and do intent to prosecute all of the Defendants.

    II.      Plaintiffs’ Claims Are Related and Arise Out of the Same Series of Transactions
             and Occurrences and There are Questions of Law and Fact Common to All
             Plaintiffs

          Plaintiffs allege that the same product, Talcum powder, manufactured by the same

 defendants, caused the same disease. Such claims are properly joined in one complaint under

 Pennsylvania law. Pennsylvania Rule of Civil Procedure 2229(a) describes when claims of

 plaintiffs may be joined in one action:

          Persons may join as plaintiffs who assert any right to relief jointly, severally,
          separately or in the alternative, in respect of or arising out of the same transaction,
          occurrence, or series of transactions or occurrences if any common question of law
          or fact affecting the rights to relief of all such persons will arise in the action.


          Pa. R.C.P. 2229(a). Rule 2229 is to be liberally construed in order to “[p]revent a

 multiplicity of suits, and expedite the final determination of litigation by inclusion in one suit of

 all parties directly interested in the controversy despite technical objections previously existing

 in many situations. It also recognizes the economy of a procedure under which several demands

 arising out of the same occurrence may be tried together, thus avoiding the reiteration of the

 evidence relating to facts common to the several demands.” Siranovich v. Butkovich, 76 A.2d

 640, 643 (Pa. 1950) (Rule 2229 adapted from Federal Rule 20).

          Pennsylvania courts have interpreted the “same transaction or occurrence” test articulated

 in Rule 2229 broadly so as to achieve these policy goals. The Pennsylvania Supreme Court has

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 held that the “same transaction or occurrence” gives rise to claims when they arise from “a

 common factual background or common factual or legal questions.” Stokes v. Loyal Order of

 Moose Lodge No. 696, 466 A.2d 1341, 1344-45 (Pa. 1983). The term “transaction” has itself

 been broadly defined to include “any act as affecting legal rights or obligations,” embracing “an

 entire occurrence out of which a legal right springs or on which a legal obligation is predicated.”

 Hineline, 586 A.2d at 457. Thus, the comments to Rule 2229 confirm that plaintiffs may be

 joined together when the claims stated arise from a common set of facts, so long as a question of

 law or fact is common to all: “This joinder is permitted although the causes of action are 1)

 several; 2) separate or independent; or 3) in the alternative.” Buchanan, 1975 WL 16967, at n.3

 (quoting comments to Rule 2229).

        Likewise, Rule 20(a) joinder of plaintiffs is properly used for the efficient adjudication of

 toxic tort and product liability cases where "all of the Plaintiffs' claims rely upon the same theory

 that direct…exposure to” an environmental toxin “caused their injuries.” Pallano v. AES

 Corportation, No. CV N09C-11-021 JRJ, 2016 WL 97496, at *2 (Del. Super. Ct. Jan. 4, 2016).

 Pallano held that 24 plaintiffs in a multi-plaintiff complaint were properly joined despite

 defendants’ objections that the exposures occurred at different times and the injuries were not

 identical. Id. Joinder was proper because Plaintiffs’ injuries were caused by the same series of

 Defendants’ bad acts that resulted in Plaintiffs’ toxic exposures; and had overlapping expert

 testimony related to causation and damages. Id. Not only did the Court determine the joinder of

 the 25 plaintiffs was proper under Rule 20, the Court found joinder was proper for trial under

 Rule 42. Id; See also Campbell v. Boston Scientific Corp., 882 F.3d 70 (4th Cir. 2018) (Finding

 sufficient “common questions of fact” to support joinder in a failure-to-warn case where

 plaintiffs suffered similar injuries from a medical device implanted by different doctors at


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 different times but “shared expert witnesses and relied on much of the same evidence from

 [corporate] documents.”); Egnayem v. Boston Scientific Corp., 873 F. 3d 1304, 1310-11 (11th Cir.

 2017) (holding that the trial court did not abuse its discretion in consolidating four cases as any

 differences in plaintiffs’ medical histories, treatments, dates of use, exposure lengths, and

 causation issues were insufficient to prevent consolidation because the plaintiffs all brought the

 same claims based largely on the same liability theory).

        Joinder is proper even where exposure to a toxic product caused injury in different states

 where at essence:

        plaintiffs' complaint raises common questions of law or fact regarding injuries alleged
        from use of the same product and arising from the same design, testing, development,
        labeling, packaging, distribution, marketing, and sales practices for that product. Also,
        because plaintiffs' allegations relate to defendants' design, manufacture, testing, and
        promotion of Risperidone—occurrences common as to all plaintiffs—their claims also
        arise out of the same transaction or occurrence, or series thereof. That is so even if the
        end-of-the-line exposures occurred in different states and under the supervision of
        different medical professionals. Thus, joinder of all sixty-four plaintiffs' claims under
        Rule 20(a) is proper.

 Gracey v. Janssen Pharms., Inc., No. 4:15-CV-407 CEJ, 2015 WL 2066242, at *4 (E.D. Mo.

 May 4, 2015); Ingham v. Johnson & Johnson, 608 S.W.3d 663, 682 (Mo. Ct. App. 2020)

 (Joinder proper where “[p]laintiffs’ claims against Defendants arose out of the same occurrence:

 each Plaintiff used Defendants’ Products. Their Petition alleged they each developed ovarian

 cancer because of Defendants’ wrongful conduct in manufacturing, marketing, testing,

 promoting, selling, and distributing the Products.”).

        Here, likewise all of the Plaintiffs allege that Defendants failed to warn of the risks of

 ovarian disease associated with the use of talcum powder. Defendants concealed and continue to

 conceal their knowledge of talcum powder’s unreasonably dangerous risks from Plaintiffs to

 advance their financial gains.
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        As such, Plaintiffs used the same products and were diagnosed with the same medical

 condition of ovarian cancer. Plaintiffs’ claims thus undoubtedly arise out of the same series of

 occurrences and share common questions of law and fact.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court GRANT

 Plaintiffs’ Motion to Remand.

 Dated: December 11, 2023

                                                      Respectfully submitted,

                                                      /s/ Tayjes M. Shah
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                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document has been filed electronically on the court’s

 ECF system and is available for viewing and downloading from the ECF system. All counsel of

 record listed on the Court’s CM/ECF system are to be served by the Court via Notice of

 Electronic Filing (NEF).



                                                      By: Tayjes M. Shah


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